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8 UNITED STATES DISTRICT COURT
9 FOR THE CENTRAL DISTRICT OF CALIFORNIA
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11 IN RE QUEST SOFTWARE, INC. ) CASE NO. SAG\LQ€'G#SL-DQG-(RNB»)¢)
DERIVATIVE LITIGATION, g Related Cases:
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14 ) 0 R D E R GRANTING FINAL
) APPROVAL OF SETTLEMENT
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21 Before the Court is Plaintiffs Motion for Preliminary Approval of Settlement (the

22 “Motion”). After considering the moving papers and counsel’s statements during a hearing

23 before the Court, the Court hereby GRANTS the Motion and APPROVES the Settlement.

24 I. BACKGROUND

25 The Plaintiffs Phillip Eng and Robert Freedman Were shareholders of nominal defendant
26 Quest. They brought suit against Quest and individual, present and former executives of Quest

27 for violations of state and federal law arising out of alleged stock option backdating. On

 

28 September 8, 2006, the Court issued an order consolidating a number of related federal

 

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derivative lawsuits arising out of the same underlying facts. Plaintiffs filed a consolidated
complaint on November 21 , 2006.

Meanwhile, Quest employed the Special Committee to investigate its past option granting
practices. On January 15, 2007, Quest issued a press release laying out the Special Committee’S
findings, which included statements about the correct measurement dates of certain options, re-
pricing those options, and recovering profits certain executives realized as a result of backdating.

During the course of this litigation, Plaintiffs conducted substantial investigation and
discovery including retention of statistical experts to analyze stock option grants, review of all of
Quest’s reported grants, inspection of Quests public filings, a private investigation, review of
company documents and depositions of members of the Special Committee. Plaintiffs,
Defendants and the Special Committee also engaged in an eleven-month series of negotiations
including two mediation sessions before Justice Howard Wiener and numerous discussions
outside of mediation As a result of these negotiations, the parties reached the present proposed
resolution.

The proposed settlement (the “Settlement”) includes two components: compensation to
Quest for the harm caused by the alleged backdating and prophylactic corporate governance
changes. The compensation to Quest includes: a) disgorgement of any net profits obtained by
executives through exercising misdated options (subject to certain limited exceptions), resulting
in payment of $23.5 million to Quest reflecting the entire economic harm from individuals
exercising misdated options; b) repricing all misdated options held by these executives to comply
with proper accounting procedures; and c) cancellation of 450,000 vested options held by a
former executive The corporate governance procedures include changes to: a) the way stock
option awards are communicated and recorded; b) the election, duties and makeup of Quest’s
board of directors; c) oversight, duties and makeup of Quest’s Compensation Committee; and d)
the role and duties of Quest’s Audit Committee. Additionally, the settlement would, subject to
shareholder approval, modify Quest’s stock option plans to place restrictions on options granting
practices, including a prohibition on granting options below fair market value on the grant date.

Finally, the parties agreed to substantial “confirmatory discovery,” which took place after the

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parties reached Settlement.

On May 19, 2008, the Court preliminarily approved the Settlement. Subsequently, Quest
published a notice approved by the Court in lnvestor ’s Business Daily and mailed an approved
notice to Quest’s record owners (the “Notice”). The Notice contained the material terms of the
Settlement and procedures for objecting to the Settlement. No shareholder has objected
II. LEGAL STANDARD

Federal Rule of Civil Procedure 23.1 governs settlement of shareholder derivative actions
and provides that “[a] derivative action may be settled, voluntarily dismissed, or compromised
only with the court's approval.” See Fed. R. Civ. P. 23.l(c). Settlements are favored in
shareholder derivative litigation, and the Court should avoid substituting its judgment for that of
the parties. See Republic Nat. Life InS. Co. v. Beasley, 73 F.R.D. 658, 667 (S.D.N.Y. 1977)
(citing Schimmel v. Gola’man, 57 F.R.D. 481, 487 (S.D.N.Y. 1973)); Maher v. Zapata Corp., 714
F.2d 436, 455 (5th Cir. 1983). However, “approval cannot be a rubber stamp adoption of what
the parties alone agree is fair and reasonable.” Seigal v. Merrz'ck, 590 F.2d 35, 37-38 (2d Cir.
1978).

In determining whether to approve a settlement in a shareholder derivative suit, the
courts employ an test akin to that used for approval of class action settlements under Federal
Rule of Civil Procedure 23 . See In re Pac. Enters. Sec. Litig., 47 F.3d 373, 377 (9th Cir. 1995);
In re Imperial Corp. of Am., 92 F.3d 1503, l506 n.5 (9th Cir. 1996). The decision turns on
whether the settlement is “fundamentally fair, adequate, and reasonable.” See Ojj‘z`cersfor
Justice v. Civil Service Com ’n of Cily and County of San Francz`sco, 688 F.2d 615, 625 (9th Cir.
1982) (collecting cases). The Court’s discretion in making this determination is informed by a
number of factors, including: a) the strength of plaintiffs’ case; b) the risk, expense, complexity,
and likely duration of the suit; c) the amount of the settlement; d) the amount of discovery; e) the
stage of the proceedings; f) counsel’s experience and opinion; g) governmental participation (if
any); and h) the reaction of individual plaintiffs Ojj‘z`cers for Justice, 788 F.3d 625 (collecting
cases). Courts generally consider any number of these factors, among others, with an eye

towards determining whether the overall settlement is fundamentally fair. See In re General

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Motors Corp. Pz`ck-Up Truck Fuel Tank Proa's. Liab. Litig., 55 F.3d 768, 785 (3d Cir. l995).
III. DISCUSSION

After considering the argument and evidence before it, and for the following reasons, the
Court concludes that the settlement warrants approval and that the requested attomeys’ fees are
reasonable

A. The Settlement Warrants Approval

Where a proposed settlement is the result of legitimate, arms-length negotiations of
experienced counsel, and there is no suggestion of collusion, the Settlement is entitled to
substantial deference and a presumption of fairness. In re Austrian & German Bank Holocaust
Lz`tig., 80 F. Supp. 2d 164, 174 (S.D.N.Y. 2000). Counsel is better positioned than the Court to
protect the interests of clients and to make the necessary compromises during the course of
negotiations Pacrfic Enters., 47 F.3d at 378. The risk of courts second guessing the product of
good faith negotiations, based on hindsight and limited familiarity with the case, is likely to
produce fewer settlements and less value

Here counsel has considerable experience litigating derivative suits. Plaintiffs counsel
considers the Settlement “excellent” under the circumstances Further, there is no evidence of
collusion between Plaintiffs and Defendants. Instead, the parties entered the Settlement after
months of negotiations and mediation before a well-respected jurist, Justice Wiener. Further,
they engaged in substantial discovery and investigation prior to mediation and eventually
settlement This included retention of experts to analyze Quest’s financial information,
consideration of SEC filings, and review of public and non-public documents This discovery
culminated in significant Mediation Statements submitted to Justice Wiener. Considering the
views of esteemed counsel, and the approval of Judge Wiener after considerable efforts, the
Court begins its analysis with the presumption that the Settlement warrants approval.

After considering the terms of the Settlement as well as the parties’ briefing, the Court
concludes that the settlement is abundantly fair, adequately addresses the interests of Quest’s
shareholders, and confers a substantial benefit on Quest both financially and in terms of

corporate governance Given that not a single shareholder has objected to the settlement, despite

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the substantial institutional investment at Quest, the Court is confident that the settlement is fair,
adequate and reasonable

Although Plaintiffs have a fairly strong case, they are not guaranteed success. Quest has
admitted to backdating, but “vigorously dispute[s] the validity of Plaintiffs’ claims.” Further,
the Ninth Circuit has recognized that derivative suits are rarely successful Id. Victory is
especially uncertain where, as here, Plaintiffs must argue demand futility. See Aronson v. Lewis,
473 A.2d 805 (Del. 1984). The demand requirement is certainly a serious obstacle to recovery.
Plaintiffs provide numerous examples where claims of demand futility were rejected in
backdating cases. Even if Plaintiffs could establish futility, this is only the beginning They
would also have to contend with the possible intervention of Special Litigation Committee
(which could delay the suit for a considerable period and would be protected by the Business
Judgment Rule), see Cal. Corp. Code § 311, dispositive motions and a trial. Any number of
events could derail the case and provide no recovery. Further, continued litigation for the
significant period required to resolve this case would be extremely costly. It would likely
involve substantial discovery, motion work and trial preparation Esteemed counsel do not
engage in such work for free The suit is also likely to involve expert witnesses who charge as
much or more than the lawyers.

In recognition of the fair chance of success, the Settlement is very favorable It provides
for substantial monetary recovery and, perhaps more importantly, corporate governance changes
Maher, 714 F.2d at 461 (“effects of the suit on th efunctioning of th ecorporation may have a
substantially greater impact on it, both long- and short-term, than the dollar amount of any likely
judgment . . ..”) It also provides for certainty and avoids substantial litigation cost.

Perhaps most importantly7 Quest’s shareholders do not challenge the settlement In re
SmithKline Beckman Corp. Sec. Litig., 751 F. Supp. 525, 530 (E.D. Pa. 1990) (“the reaction of
the class to the proffered settlement is perhaps the most significant factor”). A small number of
objectors suggests that the settlement is fair. Where there are no objectors, this is strong
evidence that the Settlement meets with shareholder approval.

Accordingly, the Court hereby APPROVES the settlement
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B. The Attorneys’ Fees are Reasonable

The parties have agreed to provide Plaintiffs’ counsel $4.625 million in fees and
expenses

Counsel may recover fees where the Settlement confers a “substantial benefit” on the
corporation The benefit can be monetary, remedial or both. Boeing Co. v. Van Gemert, 444
U.S. 472, 478, 100 S. Ct. 745; Lewis v. Anderson, 692 F.2d 1267, 1270 (9th Cir. 1982)
(collecting cases). It is clear that a $23.5 million recovery and far-reaching governance reforms
are a “substantial benefit.”

As with a settlement a stipulated fee is entitled to considerable deference Parties should
be encouraged to negotiate fees. Hensley v. Eckerhart, 461 U.S. 424. 437, 103 S. Ct. 1933
(1983) (“Ideally, of course, litigants will settle the amount of a fee.”); Johnson v. Georgr'a
Highway Exp., Inc., 488 F.2d 714, 720 (5th Cir. 1974) (“we encourage counsel on both sides to
utilize their best efforts to understandingly, sympathetically, and professionally arrive at a
settlement as to attorney's fees.”) Judicial meddling in stipulated fee agreements is dangerous
and discourages settlement See Malchman v. Davz's, 761 F.2d 893, 905 and n.5 (2d Cir. 1985).
This agreement is entitled further deference because it was reached with the assistance and
approval of Justice Wiener.

Further, the Settlement is abundantly reasonable It represents approximately 19.7% of
the total monetary award. This is commensurate with or below amounts awarded in similar
CaSeS. See e.g. 111 re Activision, Inc. Deriv. Litig., CV 06-4771 (C.D. Cal. July 21, 2008) ($10
million in fees for securing governance reforms and $24.3 million); Cily of Pontiac General
Employees Ret. Sys. v. Langone, 2006 CV 122302 (Ga. Sup. Ct. June 10, 2008) ($14.5 million in
fees based purely on corporate governance); In re Tenet Healthcare Corp. Deriv. Litig., No.
01098905 (Santa Barbara Super. Ct. May 5, 2006) ($5 million in fees for governance and
monetary relief). It is significantly lower than the Circuit’s guideline for class action suits of
25%. Further, it is based on an award that gives considerable benefits to Quest in terms of both
corporate governance and compensation Finally, it is reasonable in light of Plaintiffs’ counsel’s

substantial costs and effort associated with this case as noted above

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Accordingly, the Court hereby APPROVES the stipulated fees.
IV. DISPOSITIGN

For the reasons stated above, the Court concludes that the settlement is fair, adequate and
reasonable, and hereby finally APPROVES the settlement The Court also concludes that the fee

award is warranted and reasonable and hereby APPROVES the fee award.

IT IS SO ORDERED.
DATED: August 15, 2008

DAVID O. CARTER
United States District Judge

 

 

